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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                              Criminal No. 19-134
                 Vs.
TERRY SUGGS JR.,
             Defendant


           AMENDMENT TO MOTION TO SUPPRESS EVIDENCE
     AND NOW comes Defendant TERRY SUGGS, JR., by his attorneys, G.

WILLIAM BILLS, JR., Esquire and SALLY A. FRICK, Esquire, and files the

Amendment to Motion to Suppress Evidence previously filed on Defendant’s

behalf, and in support thereof, avers the following

     1. Motion to Suppress Evidence was previously filed by former counsel on

        the Defendant’s behalf.

     2. In current counsel’s review of the discovery and of the Motion to Suppress

        Evidence, counsel observed facts which counsel aver entitle Defendant to

        a hearing in accordance with Franks v. Delaware, 438 U.S. 154 (1978)

     3. A brief review of the evidence reveals that state investigators were

        arranging a purchase of cocaine from co-defendant Jermaine Clark. Phone

        calls were exchanged between a confidential informant and a person

        investigators identified as Mr. Clark. There was no mention or
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   conversation during these calls about another person and specifically not

   about this Defendant.

4. The investigators did have information about Clarke arriving in a Chevy

   Traverse.

5. When the investigators arrived at the meeting location, they observed Mr.

   Clarke in a Chevy Traverse. Another vehicle - a Subaru -was parked in

   the vicinity with motor running

6. Investigators immediately seized the Traverse and the occupants – Clarke

   and this Defendant – and detained them. No transaction was made at that

   time, although this was scheduled to be a “buy-bust” with a confidential

   informant. Both Clarke and the Defendant were immediately taken into

   custody. The vehicles – Traverse and Subaru – were seized until a search

   warrant was applied for and obtained. At the police station, a drug

   detecting canine alerted to the presence of drugs in both vehicles. The dog

   was not put to the vehicles until both vehicles and defendants had been

   detained and transported to the station.

7. Both vehicles were searched and cocaine was found in each vehicle, as

   well as currency. A phone call was made to the telephone identified as the

   contact for the seller in the transaction and the phone rang to a cell phone

   in Clarke’s possession.
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8. According to the testimony of Detective Ray Bonacci at the preliminary

   hearing in the state court proceedings, a preliminary search was conducted

   of the Subaru at the scene, and the officers made no observations of any

   currency or contraband; that fact was not presented to the issuing authority

   in support of the application for the search warrant. Nor was the officer’s

   testimony, also at the preliminary hearing, that Mr. Clarke, according to

   all the previous arrangements and information, was coming alone to the

   meeting for the transaction – the “buy-bust.” There was no mention of

   this Defendant nor were the officers aware that Defendant even existed.

9. The affidavit in support of the application for the search warrant also

   omitted any facts that contact and conversation was solely with Mr.

   Clarke; no information was presented about the presence or non-presence

   of another person or vehicle; or that no controlled purchase had occurred

   prior to the seizure of the vehicles and the persons.

10.In order for this Court to conduct a Franks hearing, a defendant must

   make a substantial preliminary showing that a false statement was included

   in the warrant affidavit knowingly and intentionally or with reckless

   disregard for the truth. A number of circuit courts have held that reckless

   omissions are also challengeable. See, e.g., United States v. Lucht, 18 F.3d

   541 (8th Cir. 1994)
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11. Defendant avers that the omissions from the affidavit as detailed above

   were intentionally made and with reckless disregard for the truth, i.e., that

   there was no evidence to include this Defendant in the arranged

   transaction; that investigators and the confidential informant were not

   aware of his existence; that no calls had been made to this Defendant nor

   did he possess a phone that received any such calls; and that no controlled

   buy had occurred prior to the immediate detention and seizure of

   Defendant and the vehicles; and that neither of the vehicles were registered

   to the Defendant.

         WHEREFORE, Defendant requests that this Court conduct an

evidentiary hearing in accordance with Franks v. Delaware, 438 U.S. 154

(1978)

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